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 1 ZEV SHECHTMAN (State Bar No. 266280)
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 5 DANNING, GILL, ISRAEL & KRASNOFF, LLP
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 6 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 7 Facsimile: (310) 277-5735

 8 Proposed General Bankruptcy Counsel for
   Jinzheng Group (USA) LLC, Debtor in Possession
 9
                          UNITED STATES BANKRUPTCY COURT
10
                            CENTRAL DISTRICT OF CALIFORNIA
11
                                   LOS ANGELES DIVISION
12
   In re                                         Case No. 2:21-bk-16674-ER
13
   JINZHENG GROUP (USA) LLC,                     Chapter 11
14
                Debtor and Debtor in             NOTICE OF AMENDED EXHIBIT 1 TO
15              Possession.                      THE APPLICATION TO EMPLOY REAL
                                                 ESTATE BROKERS AND TO ENTER
16                                               INTO EXCLUSIVE LISTING
                                                 AGREEMENT [DOC. NO. 263]
17
                                                 [No Hearing Required]
18

19

20            TO THE HONORABLE ERNEST M. ROBLES, UNITED STATES BANKRUPTCY

21 JUDGE, AND INTERESTED PARTIES:

22

23            PLEASE TAKE NOTICE that Jinzheng Group (USA) LLC (the “Debtor”), hereby

24 submits and attached hereto is the Debtor’s amended Exhibit 1 to the Debtor’s Application to

25 Employ The CREM Group and Marcus & Millichap as Real Estate Brokers (doc. no. 263) filed on

26 / / /

27 / / /

28 / / /


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 1 June 23, 2022, which is the executed version of the listing agreement that is the subject of the

 2 application.

 3

 4 DATED: June 24, 2022                        DANNING, GILL, ISRAEL & KRASNOFF, LLP

 5

 6
                                               By:
 7                                                   ZEV SHECHTMAN
                                                     Proposed General Bankruptcy Counsel for
 8                                                   Jinzheng Group (USA) LLC, Debtor in Possession
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 1                                   PROOF OF SERVICE OF DOCUMENT
 2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is 1901 Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.
 3
     A true and correct copy of the foregoing document entitled (specify): NOTICE OF AMENDED EXHIBIT 1
 4 TO THE APPLICATION TO EMPLOY REAL ESTATE BROKERS AND TO ENTER INTO EXCLUSIVE
     LISTING AGREEMENT [DOC. NO. 263] will be served or was served (a) on the judge in chambers in the
 5 form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

 6 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 7 hyperlink to the document. On (date)       6/24/22                  I checked the CM/ECF docket for this
     bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic
 8   Mail Notice List to receive NEF transmission at the email addresses stated below:

 9
                                                                            Service information continued on attached page.
10

11 2. SERVED BY UNITED STATES MAIL:
   On (date)   6/24/22         , I served the following persons and/or entities at the last known
     addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
12 sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
     judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
13 the document is filed.

14

15                                                                          Service information continued on attached page.
16 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
     (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
17 (date)                        , I served the following persons and/or entities by personal delivery, overnight
     mail service, or (for those who consented in writing to such service method), by facsimile transmission
18   and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
     overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
19

20
                                                                            Service information continued on attached page.
21
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
22

23
        June 24, 2022                        Patricia Morris                                /s/ Patricia Morris
24      Date                                 Printed Name                                   Signature

25

26

27

28
     1686275.1 27086 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District
     of California.

     June 2012                                                                        F 9013-3.1.PROOF.SERVICE
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 1                                          ADDITIONAL SERVICE INFORMATION (if needed):


 2   TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

 3   Donna C Bullock on behalf of Interested Party Donna Bullock Carrera
     donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
 4
     Steven P Chang on behalf of Interested Party Courtesy NEF
     heidi@spclawoffice.com,
 5   schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notify.cincompass.
     com;changsr75251@notify.bestcase.com
 6
     Michael F Chekian on behalf of Creditor The Phalanx Group
 7   mike@cheklaw.com, chekianmr84018@notify.bestcase.com

 8   Michael F Chekian on behalf of Interested Party Chekian Law Office, Inc.
     mike@cheklaw.com, chekianmr84018@notify.bestcase.com
 9
     Heidi M Cheng on behalf of Plaintiff JINZHENG GROUP (USA) LLC
     heidi@slclawoffice.com,
10   assistant1@spclawoffice.com;schang@spclawoffice.com;chenghr75251@notify.bestcase.com

11   Susan Titus Collins on behalf of Interested Party INTERESTED PARTY
     scollins@counsel.lacounty.gov
12
     Jeffrey W Dulberg on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED CREDITORS
13   jdulberg@pszjlaw.com

14   Oscar Estrada on behalf of Creditor LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR
     oestrada@ttc.lacounty.gov
15   Richard Girgado on behalf of Interested Party Courtesy NEF
     rgirgado@counsel.lacounty.gov
16
     M. Jonathan Hayes on behalf of Interested Party Courtesy NEF
17   jhayes@rhmfirm.com,
     roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;david
18   @rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com

19   Teddy M Kapur on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED CREDITORS
     tkapur@pszjlaw.com, mdj@pszjlaw.com
20   Alphamorlai Lamine Kebeh on behalf of Debtor JINZHENG GROUP (USA) LLC
     akebeh@danninggill.com
21
     Peter A Kim on behalf of Attorney LAW OFFICES OF PETER KIM
22   peter@pkimlaw.com, peterandrewkim@yahoo.com

23   Peter A Kim on behalf of Defendant Betula Lenta Inc
     peter@pkimlaw.com, peterandrewkim@yahoo.com
24
     Peter A Kim on behalf of Defendant David Park
     peter@pkimlaw.com, peterandrewkim@yahoo.com
25
     Peter A Kim on behalf of Defendant Jonathan Pae
26   peter@pkimlaw.com, peterandrewkim@yahoo.com

27   Christopher J Langley on behalf of Plaintiff JINZHENG GROUP (USA) LLC
     chris@slclawoffice.com, omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
28
     Benjamin
     1686275.1 R Levinson,
               27086         ESQ
                     This form     on behalfIt of
                               is mandatory.   hasCreditor Michael
                                                   been approved for E.
                                                                     useDorff
                                                                         by theand  Shari
                                                                                United     L. Dorff
                                                                                       States Bankruptcy Court for the Central District
     of California.

     June 2012                                                                       F 9013-3.1.PROOF.SERVICE
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 1   ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com

 2   Eric A Mitnick on behalf of Interested Party Courtesy NEF
     MitnickLaw@aol.com, mitnicklaw@gmail.com
 3   Giovanni Orantes on behalf of Other Professional Orantes Law Firm, P.C.
     go@gobklaw.com, gorantes@orantes-
 4   law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.bestcase.com

 5   Donald W Reid on behalf of Interested Party INTERESTED PARTY
     don@donreidlaw.com, ecf@donreidlaw.com
 6
     Matthew D. Resnik on behalf of Attorney Matthew Resnik
 7   matt@rhmfirm.com,
     roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pard
     is@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com
 8
     Matthew D. Resnik on behalf of Creditor Royalty Equity Lending, LLC/Bobs LLC
 9   matt@rhmfirm.com,
     roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pard
10   is@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com

11   Matthew D. Resnik on behalf of Interested Party Courtesy NEF
     matt@rhmfirm.com,
12   roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pard
     is@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com
13   Peter J Ryan on behalf of Defendant Testa Capital Group
     ryan@floresryan.com, schneider@floresryan.com
14
     Peter J Ryan on behalf of Defendant Thomas L. Testa
15   ryan@floresryan.com, schneider@floresryan.com

16   Allan D Sarver on behalf of Creditor Investment Management Company LLC
     ADS@asarverlaw.com
17
     Allan D Sarver on behalf of Interested Party Courtesy NEF
     ADS@asarverlaw.com
18
     Zev Shechtman on behalf of Debtor JINZHENG GROUP (USA) LLC
19   zshechtman@DanningGill.com, danninggill@gmail.com;zshechtman@ecf.inforuptcy.com

20   Zev Shechtman on behalf of Interested Party INTERESTED PARTY
     zshechtman@DanningGill.com, danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
21
     Zev Shechtman on behalf of Plaintiff JINZHENG GROUP (USA) LLC
22   zshechtman@DanningGill.com, danninggill@gmail.com;zshechtman@ecf.inforuptcy.com

     David Samuel Shevitz on behalf of Interested Party INTERESTED PARTY
23   david@shevitzlawfirm.com,
     shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
24
     John N Tedford, IV on behalf of Interested Party INTERESTED PARTY
25   jtedford@DanningGill.com, danninggill@gmail.com;jtedford@ecf.courtdrive.com

26   United States Trustee (LA)
     ustpregion16.la.ecf@usdoj.gov
27
     Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)
     hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov
28
     1686275.1 27086 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District
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     June 2012                                                                        F 9013-3.1.PROOF.SERVICE
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 2

 3

 4   SERVED BY UNITED STATES MAIL:
                The Honorable Ernest M. Robles
 5              U.S. Bankruptcy Court
 6              Roybal Federal Building
                Bin outside of Suite 1560
 7              255 E. Temple Street
                Los Angeles, CA 90012
 8
                Bentula Lenta, Inc.
 9              David Park
                800 W. 6th Street, Suite 1250
10
                Los Angeles, CA 900171
11
                The Phalanx Group, Inc.
12              Anthony Rodriguez
                424 E. 1st Street, Unit #10
13              Los Angeles, CA 90015
14              Testa Capital Group
                620 Newport Center Dr., #1100
15
                Newport Beach, CA 92660
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     June 2012                                                                        F 9013-3.1.PROOF.SERVICE
